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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MEW YORK

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SECURITIES AND EXCHANGE
COMMISSION,                                      17-CV-      (~

                              Plaintiff,
                                                                              ~~~~       .-, wu.t.:.f.~h
                      V•
                                                 COMPLAINT
LEK SECURITIES CORPORATION,
SAMUEL LEK,                                                                    U.S,~,C. ~.~.1V.'Y.
VALI MANAGEMENT PARTNERS dba
  AVALON FA LTD,                                 JURY TRIAL DEMANDED
NATHAN FAYYER,and
SERGEY PUSTELNIK a/k/a SERGE
  PUSTELNIK,
                     Defendants.


       Plaintiff Securities and Exchange Commission (the "Commission")files this Complaint

against Defendants Lek Securities Corporation("LEK"), Samuel Lek("Sam Lek"), Vali

Management Partners dba Avalon FA Ltd ("Avalon"), Nathan Fayyer ("Fayyer"), and Sergey

Pustelnik a/k/a Serge Pustelnik ("Pustelnik"), and alleges as follows:

                                           SUMMARY

       1.      This case involves two schemes to manipulate the securities markets perpetrated

by Avalon, a foreign trading firm. Fayyer(Avalon's disclosed principal} and Pustelnik (an

undisclosed control person of Avalon and a former registered representative at LEK)directly

participated in and assisted the manipulative schemes. The schemes were made possible through

and with the participation and assistance of LEK,a U.S. broker-dealer based in New York, and

Sam Lek, LEK's Chief Executive Officer("CEO"). LEK and Sarn Lek provided Avalon with
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access to the U.S. securities markets to execute the schemes, and otherwise assisted in carrying

out the schemes.

       2.      The first manipulative trading scheme,known as "layering," involved

manipulating the markets of U.S. stocks. Under this scheme, Avalon placed "non-bona fide

orders"—in other words, orders that Avalon did not intend to execute and that had no legitimate

economic reason—to buy or sell stock with the intent of injecting false information into the

marketplace about supply or demand for the stock. Avalon did this to trick and induce other

market participants to execute against Avalon's bona fide orders (i.e., orders that Avalon did

intend to execute)for the same stock on the opposite side ofthe market. By placing the non-

bona fide orders, Avalon was able to manipulate the market for the stocks and thereby obtain

more favorable prices on the executions of its bona fide orders than otherwise would have been

available. Avalon engaged in hundreds ofthousands ofinstances oflayering in numerous

securities from approximately December 2010 through at least September 2016, and Avalon

made millions of dollars in profits from the scheme.

       3.      The second manipulative trading scheme is referred to herein as the "cross-market

manipulation,""cross-market scheme" or "cross-market strategy." In this scheme, Avalon

bought and sold U.S. stock at a loss for the purpose of moving the prices of corresponding

options, sa that Avalon could make a profit by trading those options at artificial prices that they

would not have been able to obtain but for the manipulation. Avalon's stock trades had no

legitimate economic reason, and were intended to inject into the market false information about

supply and demand in order to move the prices of corresponding options to artificial levels.

Although the strategy involved taking a loss on the stock transactions, such losses were far

outweighed by Avalon's significant profits from trading the corresponding options whose prices



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Avalon had manipulated. Avalon engaged in hundreds ofinstances of cross-market

manipulation involving numerous stocks and options from at least August 2012 through at least

December 2015, and Avalon made millions of dollars in profits from that scheme.

       4.      Together, the layering and cross-market manipulation schemes orchestrated by

Avalon through LEK generated illicit profits of more than $28 million.

       5.      Fayyer, as a principal of Avalon, participated in and substantially assisted those

schemes, as detailed more fully below.

       6.      The schemes were made possible through the participation and substantial

assistance of LEK and Sam Lek,the majority owner and CEO of LEK,and of Pustelnik, an

undisclosed control person of Avalon who also served as a registered representative of LEK for

much ofthe relevant period. LEK,as a registered broker-dealer, provided Avalon with direct

access to the U.S. securities markets and, along with Sam Lek as CEO, approved, permitted and

facilitated Avalon's schemes even though they knew or were reckless in not knowing that

Avalon was engaging in market manipulation.

       7.      LEK and Sam Lek had ample motive to assist and allow Avalon's manipulative

trading. Between 2012 and 2016, Avalon was LEK's highest producing customer in terms of

commissions and fees and rebates generated. LEK made significant profits from commissions

and other amounts it earned from Avalon's layering and cross-market manipulation.

       8.       Beginning in late 2010,Pustelnik embedded himself at LEK,first as a foreign

finder and then as a registered representative, thus enabling him to facilitate Avalon's

manipulative trading through LEK. Pustelnik received a share of Avalon's profits directly from

Avalon,including profits from the layering and cross-market manipulation. Moreover,as a

registered representative at LEK who handled the Avalon account, Pustelnik received



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commissions and other payments from the manipulative trading by Avalon, and thereby

increased his share of illicit profits beyond what he received as a control person of Avalon.

       9.      Pustelnik played a central role in ensuring the success ofthe layering and cross-

market schemes. Pustelnik recruited Avalon traders for the purpose of carrying out the schemes

and worked closely with LEK to ensure the success and effectiveness ofthe strategies. When

Avalon encountered technical or other difficulties in carrying out the cross-market manipulation

through LEK,for example, Pustelnik arranged for the Avalon traders who executed the trading in

the cross-market manipulation to conduct the scheme through an investment management firm

("Investment Management Firm") lhat traded through a different broker-dealer ("Other Sroker-

Dealer"}. When the Other Broker-Dealer observed the manipulative nature ofthe cross-market

scheme and objected to it, Pustelnik arranged to move the scheme back to LEK. Throughout,

Pustelnik used his position at LEK to facilitate and further the cross-market scheme.

        14.    By engaging in the conduct alleged herein, Avalon, Fayyer, LEK,Sam Lek, and

Pustelnik violated and are liable for the violations of the securities laws identified in the Claims

for Relief section below.

        11.    Based on the Defendants' violations, the Commission seeks: (1) entry of a

permanent injunction prohibiting the Defendants from further violations ofthe relevant

provisions ofthe federal securities laws;(2)disgorgement of ill-gotten gains, plus prejudgment

interest;(3)the imposition of civil monetary penalties; and (4)such other and further relief as the

Court deems just and _proper.

                                 JURISDICTION AND VENUE

        12.    The Commission brings this action pursuant to Sections 15(b), 20(b) and 20(d)of

the Securities Act of 1933 ("Securities Act")[15 U.S.C. §§ 77o(b), 77t(b) and (d)] and Sections
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20(a), 20(e), 21(d)(1), 2I(d)(3} and 21(d)(5) ofthe Securities Exchange Act of 1934("Exchange

Act"}[15 U.S.C. §§ 78t(a), 78t(e), 78u(d)(1), 78u(d)(3), and 78u(d)(5)].

       13.     This Court has jurisdiction over this action pursuant to Section 22(a) ofthe

Securities Act[15 U.S.C. §§ 77v(a)] and Sections 21(d)and 27 ofthe Exchange Act[15 U.S.C.

§§ 78u(d)and 78aa].

        14.        Venue is proper in this district pursuant to Sections 20(b) and 22 ofthe Securities

Act[15 U.S.C. §§ 77t(b} and 77v] and Section 27 of the Exchange Act [15 U.S.C. § 78aa],

because certain acts, practices, transactions, and courses of business constituting the violations

occurred in the Southern District ofNew York.

        15.    Defendants, directly or indirectly, made use of the means or instrumentalities of

interstate commerce or the mails, or a facility of a national securities exchange, in connection

with the conduct alleged herein.

        16.    Unless enjoined, the Defendants are reasonably likely to again engage in the

securities law violations alleged herein, or in similar conduct that would violate the federal

securities laws.

                                            DEFENDANTS

        17.    Lek Securities Corporation is abroker-dealer based in New York, New York

and is registered with the Commission. LEK provides market access to its customers, including

Avalon and other foreign trading firms. LEK markets itself as the "Gateway to the Markets" by

providing access to exchanges and other trading venues. LEK has previously been sanctioned by

the Financial Industry Regulatory Authority("FINRA")and the New York Stock Exchange

("NYSE")for failing to identify, prevent, or stop manipulative trading.




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       I8.     Samuel Lek, age 65,founded LEK in 1990. He indirectly owns almost 70% of

LEK. Sam Lek exercises overall and day-to-day control over LEK's operations as its CEO,

Secretary, sole Director, Chief Compliance Officer, and Anti-Money Laundering Compliance

Officer. Sam Lek holds Series 3, 7,8, 14, 24, 53, and 63 licenses in the securities industry and is

an experienced options trader. Sam Lek supervised LEK registered representative Pustelnik at

all times while he was associated with LEK,and Sam Lek also supervised any other registered

representatives assigned to the Avalon account.

       19.     Vali Management Partners dba Avalon FA Ltd is aSeychelles-incorporated

entity with headquarters in Kiev, Ukraine. It is not registered with the Commission in any

capacity. Corporate documents state that Fayyer is its sole owner and director. Pustelnik is an

undisclosed control person of Avalon and shares in its revenue or profits with Fayyer. Avalon

operates as aday-trading firm and uses mostly foreign traders in Eastern Europe and Asia to

conduct its trading. The layering scheme discussed herein was conducted through Avalon's

account at LEK. Except as noted below,the cross-market manipulation scheme discussed herein

was conducted through Avalon's account at LEK.

       20.     Sergey Pustelnik, a/k/a Serge Pustelnik, age 35, is an undisclosed control person

of Avalon. He is a close friend of Fayyer's. Pustelnik was initially a foreign finder for LEK

between October 2010 and March 2011, after which he became a registered representative at

LEK. Pustelnik remained a registered representative of LEK until January 2015, when he agreed

to be permanently barred from being associated with any FINRA member rather than produce

email from his personal email account to FINRA in connection with a FINRA investigation.

Pustelnik held Series 7, 24, 55, and 63 licenses in the securities industry. Pustelnik was born in




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Ukraine and is now a U.S. citizen. Pusteinik maintains residences in New Jersey and

Massachusetts, where he currently is a second-year law student.

       21.     Nathan Fayyer, age 34,is the sole owner and director of Avalon according to

Avalon corporate documents. Fayyer handles day-to-day and back-office functions for Avalon.

Fayyer is also the owner(along with his wife) of Avalon Fund Aktiv, LLC,a New Jersey entity

that operates as the U.S. arm of Avalon, and was the owner of San Fleur Ltd dba Biaise Greys

Partners, an entity described further below. Fayyer was born in Moldova and is now a U.S.

citizen. Fayyer maintains residences in and splits his time between New Jersey and Kiev,

Ukraine.

                            RELATED PERSONS AND ENTITIES

       22.     Avalon Fund Aktiv, LLC("Avalon Fund")is a limited liability company

incorporated in New Jersey and owned by Fayyer. It operates as the U.S. arm of Avalon.

Among other things, it is used to pay Fayyer a salary and other expenses associated with

Avalon's operations. Fayyer became an owner of Avalon Fund in 2010.

       23.     San Fleur Ltd dba Blaise Greys Partners Ltd ("Blaise Greys"} is a Seychelles-

incorporated entity that, according to corporate documents, Fayyer owned. In 2013,Pustelnik

used Blaise Greys as part of a scheme to execute the cross-market manipulation through accounts

held in the name of Investment Management Firm at Other Broker-Dealer.

                            TERMS USED IN THIS COMPLAINT

       24.     The terms caZZ and put options, as used herein, refer to contracts that give their

holders the right, but not the obligation, to buy(a call option) or sell (a put option)a fixed

number of shares ofthe underlying security at a specific price---called the strike or exercise




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price—until the expiration date. Each contract in a given put or call option series represents 100

shares ofthe underlying security.

       25.     The term national best bid("NBB"), as used herein, means the highest price a

buyer is willing to pay to buy a security. The term national best offer("NBO"), as used herein,

means the lowest price that a seller is willing to accept to sell a security. Collectively, the NBB

and NBO are referred to as the "NBBO." The mid-point ofthe NBBO is the price between the

NBB and NBO.

                                              FACTS

       A.      Avalon and Its Formation bV Pustelnik and Fawer

       26.     Pustelnik and Fayyer created Avalon in 2010 after disbanding another day-trading

firm that they controlled. Pustelnik and Fayyer each contributed $100,000 to fund Avalon's

trading account at LEK.

       27.     During the relevant period, Avalon was primarily a foreign day-trading firm that

employed overseas traders, most of whom were based in Asia and Eastern Europe. Avalon

entered into agreements with trade groups comprised of individual traders who traded for

Avalon's account. The traders traded Avalon funds, using margin lending provided by LEK to

Avalon,through sub-accounts within Avalon's master account at LEK. The traders acted as

agents of Avalon in all oftheir trading and the conduct described herein. Avalon trade groups

received access to the U.S. securities markets through Avalon's account at LEK. By reason of

the foregoing, Avalon is liable for all ofthe trading and conduct of its traders and trade groups

alleged herein.

       28.     Profits from the manipulative trading described herein flowed directly to Avalon,

less commissions and fees charged by Lek.
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       29.     At all relevant times, Fayyer was a principal of Avalon and handled its day-to-day

operations. Among other things, Fayyer oversaw Avalon's trade groups and had the authority to

restrict, place limitations on, or terminate their trading in Avalon's account at LEK.

Accordingly, Avalon is liable for all ofFayyer's conduct alleged herein.

       30.     At ali relevant times, Pustelnik was significantly involved in Avalon's

management and operations, including but not necessarily limited to the following activities.

Pustelnik—who was listed as an "Exec" in internal Avalon documents—at times instructed and

directed Fayyer's actions concerning the management of Avalon and its communications with

third parties. Pustelnik also received a share of Avalon's trading profits and held an Avalon

Fund credit card, which he freely used and which was paid by Avalon. Pustelnik personally

conducted substantial work for Avalon, including preparing accounting statements, developing

and managing the risk management program used by Avalon's traders, providing technology

services and support for its back-office operations, including maintaining Avalon's server at his

personal residence, and recruiting and meeting with Avalon traders. Pustelnik communicated

directly with various Avalon traders and with LEK about Avalon's trading strategies (including

the layering and cross-market manipulation schemes at issue in this complaint), and Pustelnik

engaged in other activities related to Avalon's manipulative trading, as further described below.

Accordingly, Avalon is liable for Pustelnik's conduct alleged herein.

       B.      Relationship Among Avalon,Pustel~ik, and LEK

       31.     In late 2010,Pustelnik contacted Sam Lek to discuss a proposed business

arrangement. Pustelnik and Sam Lek reached an agreement in which Pustelnik, acting as a

foreign finder, would bring high-volume, high-commission customers to LEK in exchange for




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50% of commissions generated by these foreign customers. Avalon was one ofthe customers

that Pustelnik referred to LEK in his role as a foreign finder.

       32.     Pustelnik used his relationship with LEK and Sam Lek to facilitate Avalon's

trading schemes. For example, Pustelnik caused LEK to hire personnel whose interests were

aligned with Avalon. In late 2010,Pustelnik asked Sam Lek to hire his brother-in-law—who

was affiliated with Avalon Fund—as a registered representative to oversee the Avalon account at

LEK ("Avalon Rep 2"). LEK complied, and by December 2010, Avalon Rep 2 had become

associated with LEK. LEK paid Avalon Rep 2 a portion of Pustelnik's share of Avalon's

commissions in an amount determined by Pustelnik on a monthly basis. Like Pustelnik, Avalon

Rep 2 used his position as a LEK registered representative to further Avalon's interests.

        33.    Also in late 2010, at Pustelnik's request, LEK hired an independent contractor

("Administrative Assistant") to handle administrative functions related to both Avalon and

Pustelnik's other customers at LEK. The Administrative Assistant previously had been

employed by Avalon and also used her position at LEK to further Avalon's interests. The

Administrative Assistant conducted work for Avalon directly from her desk at LEK,including

keeping an Avalon Fund checkbook on her desk that she used to pay Avalon expenses, executing

and processing documents for Avalon and Fayyer, and communicating directly with Avalon

traders. A portion of her salary was deducted from Pustelnik's compensation. Avalon then

reimbursed Pustelnik for that amount,thereby effectively paying the salary of someone

ostensibly working for LEK.

        34.    In March 2011, after LEK discovered that Pustelnik did not qualify as a "foreign

finder" under FINRA rules because he was a U.S. citizen, Pustelnik agreed to become a LEK

registered representative based upon assurances from Sam Lek that he would have few



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responsibilities and would not be required to work from LEK's offices. Pustelnik kept Avalon

and the other customers referred by him at LEK,but negotiated even higher profits: 50% of

commissions and trading rebates(which were significant) generated by Avalon and his other

customers. From March 2011 to January 2015,Pustelnik was a registered representative

associated with LEK. He served as one of the registered representatives on the Avalon account,

and held the title "managing director" of LEK. At all times when Pustelnik was associated with

LEK,Sam Lek was Pustelnik's supervisor, had the ability to direct his actions with respect to the

Avalon account and his role as a LEK registered representative, and had the authority to hire,

fire, and discipline him. LEK is liable for the actions of Pustelnik described herein.

       C.      Avalon's Layering Scheme

               1.      Description ofthe Layering Scheme

       35.     From approximately December 2010 through at least September 2016, Avalon

repeatedly manipulated the markets of U.S. stocks by engaging in a manipulative trading strategy

typically referred to as "layering" or "spoofing"(hereafter,"layering"). Avalon's layering

yielded profits of more than $21 million.

       36.     Layering refers to the use of multiple non-bona fide orders in a particular security

in order to manipulate the market for that security and obtain a more favorable execution of bona

fide orders on the opposite side ofthe market (e.g., the use of non-bona fide buy orders to obtain

a more favorable execution of bona fide sell orders for the same security, and vice versa). The

term "non-bona fide orders," as the term is used herein, refers to orders that a trader does not

intend to have executed and that have no legitimate economic reason. The non-bona fide orders

are intended to inject false information into the marketplace about supply or demand for the

security at issue and thereby to induce other market participants to execute against the trader's



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bona fide orders (i.e., orders that the trader intends to have executed) for the same security on the

opposite side ofthe market at an artificial price.

       37.     Layering is typically accomplished by entering non-bona fide orders at successive

levels (or "layers") of price —either increasingly higher levels (ifthe non-bona fide orders are

being placed on the buy side) or decreasing Levels (if on the sell side). In other instances,

layering involves placing multiple non-bona fide orders at the same or varying prices across

multiple exchanges or other trading venues.

        38.    By entering non-bona fide orders on one side ofthe market(for example,to buy),

the trader is able to trick and induce market participants to provide the trader with better

execution ofthe trader's bona fide orders on the other side ofthe market(for example,to sell).

The false appearance of supply or demand created by the trader's non-bona fide orders typically

pushes the price in a direction favorable to the trader, and permits the trader to obtain better

prices on the bona fide orders, or better prices for that quantity and at that point in time,than

would otherwise be available. The manipulation that results from placement ofthe non-bona

fide orders enables the bona fide orders to execute profitably, on average, and makes the bona

fide orders more profitable than they would have been absent the manipulation.

        39.     Once the trader's bona fide orders are executed, the trader typically cancels the

non-bona fide orders promptly. By that time, the non-bona fide orders have fulfilled the trader's

illicit purpose of manipulating supply and demand for that particular security to receive more

favorable execution ofthe bona fide orders. Layering typically occurs over very short time

frames, often just seconds.

       40.     In some instances, Avalon's layering involved placing non-bona fide orders on

the buy side, and bona fide orders on the sell side, while in other instances it involved placing



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non-bona fide orders on the sell side, and bona fide orders on the buy side. The manner in which

Avalon conducted layering varied by trader and over time, often in ways apparently intended to

avoid detection both by regulators and by other market participants who might modify their

behavior in response to the layering. Despite these variations, the trading had a similar theme:

create a false impression of supply or demand to trick and induce others to trade so that Avalon

could obtain a more favorable execution.

       41.     As noted, Avalon varied the specific method of its layering. But the following is

a typical illustration of Avalon's layering scheme:

              (a)      First, Avalon placed multiple, and increasingly higher, non-bona fide

       orders to buy a particular stock —while nearly simultaneously placing bona fide orders)

       (i.e., orders that Avalon did intend to have executed) on the opposite side ofthe market to

       sell the same stock. Avalon's non-bona fide orders were much higher in number of

       orders and shares than its bona fide orders; this imbalance contributed to Avalon's

       creation of a false appearance of demand for the stock.

               (b)     In this example,the purpose ofthe non-bona fide buy orders was to create

       a false appearance of buying interest and thus to trick and induce other market

       participants (often relying on algorithms to interpret changes in apparent supply and

       demand for a security) to conclude that there was increased buying interest and that the

       price ofthe stock was more likely to rise.

               (c)     The false indication of buying interest that resulted from Avalon's non-

       bona fide buy orders tricked and induced other market participants to enter their own buy

       orders, some of which executed against Avalon's bona fide sell orders at better prices for

       Avalon than would have been available without the manipulation.



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              (d)      Once the bona fide sell orders were executed, Avalon promptly cancelled

       all of its outstanding non-bona fide buy orders. In short, the non-bona fide orders had no

       purpose other than to make it possible for Avalon to receive more favorable prices for the

       bona fide orders.

              (e)      After obtaining favorable execution of its bona fide sell orders, Avalon

       often repeated the manipulation in the opposite direction through a second instance of

       layering to close out the position (i.e., by using non-bona fide sell orders to obtain a more

       favorable execution of its bona fide buy orders). In short, these instances of layering

       enabled Avalon to manipulate the market so that it could reap profits by buying low and

       selling high at artificial prices.

       42.     By engaging in the pattern oflayering described above, Avalon and its traders

knew or were reckless in not knowing that they were engaged in manipulative and fraudulent

conduct because their non-bona fide orders had no legitimate economic reason, were intended to

inject into the market false information about supply and demand, and were entered for the

purpose of moving the prices ofthe securities to artificial levels.

               Z.      Examples oflayering by Avalon

                                  July 20,2015 Layering in CAB

       43.     On July 20,2015, Avalon trader 128_102 engaged in two consecutive instances of

layering in Cabela's Incorporated("CAB"). First, Avalon used non-bona fide buy orders to

manipulate the price of CAB up and then sold short at a higher price. Second, after establishing

the short position, Avalon reversed course and used non-bona fide sell orders to manipulate the

price of CAB down and then bought at a lower price, and thus profitably covered Avalon's short




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position. Thus, Avalon bought at an artificially low price and sold at an artificially high price,

making approximately $230 in about one minute.

       44.     At 9:34:32, Avalon began the first instance oflayering in CAB stock in order to

obtain a better sales price. At that time, the NBB for CAB (i.e.,the highest price a market

participant was willing to pay for the security) was $51.09. Over the next 21 seconds, Avalon

entered 16 non-bona fide orders to buy a total of 3,500 shares at generally increasing prices.

Only one ofthose orders for 100 shares executed. Avalon then entered two bona fide orders to

sell short a total of 1,600 shares at $51.23. Avalon's non-bona fide buy orders created a false

appearance of demand, which led other market participants to place higher priced buy orders that

executed against Avalon's bona fide short sale orders. Avalon thus sold short 1,400 shares of

CAB at $51.23, which was $0.14 higher than the NBB before Avalon placed its non-bona fide

buy orders. Avalon then cancelled all outstanding orders.

       45.     Avalon then reversed direction and engaged in the second instance of layering to

buy CAB at artificially depressed prices, allowing it to profitably cover its short position. At this

time, 9:35:10, the NBO for CAB (i.e., the lowest price at which a market participant was willing

to sell the security) was $51.23. Over the next 24 seconds, Avalon entered 13 non-bona fide sell

orders totaling 3,500 shares at generally decreasing prices. During that time period, Avalon

entered one bona fide buy order for 400 shares at $51.07, which executed. At 9:35:34, Avalon

entered two more bona fide buy orders for a total of 1,400 shares at $51.04. Avalon's non-bona

fide sell orders created a false appearance ofsupply, which led other market participants to place

lower priced sell orders that executed against Avalon's bona fide buy orders. Avalon thus

bought an additional 1,000 shares of CAB at $51.04, which was $0.19 lower than the NB4

before Avalon placed its non-bona fde sell orders. Avalon then cancelled all outstanding orders.



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Through these two instances of Layering, Avalon bought 1,400 shares of CAB at an average price

of$51.05 and sold those shares at $51.23.

                                Mav 20,2013 Layering in IBM

       46.     On May 20,2013, Avalon trader 208_101 held 730 shaxes ofInternational

Business Machines Corporation("IBM")and, over a three second period, engaged in layering to

manipulate the price ofIBM up and enable Avalon to sell the 730 shares at a higher price. At

10:33:20, when Avalon began the layering, the NBB for IBM (r.e.,the highest price a market

participant was willing to pay for the security) was $208.47. Over the next two seconds, Avalon

placed 18 non-bona fide buy orders for a total of 1,800 shares at generally increasing prices.

Avalon then placed one bona fide sell order for 730 shares ofIBM at $208.54. Avalon's non-

bona fide buy orders created a false appearance of demand, which led other market participants

to place higher priced buy orders that executed against Avalon's bona fide sell order. Avalon

thus sold a total of 730 shares ofIBM at $208.54, which was $0.07 higher than the NBB before

Avalon's non-bona fide orders. Avalon then cancelled all outstanding orders.

                             November 1,2012 Layering in CERN

       47.     On November 1,2012, Avalon trader 188_1025 held a short position of 1,100

shares of Cerner Corporation("CERN"),and, over atwenty-three second period, engaged in

layering to manipulate the price of CERN down and buy to cover its short position. At 12:50:52,

the NBO for CERN (i.e., the Lowest price at which a market participant was willing to sell the

security) was $77.18. Over seventeen seconds, Avalon entered 67 non-bona fide sell orders, in

quantities of 100 shares each, at generally decreasing prices. Only one sell order for 100 shares

executed. During that time, at around 12:51:00, Avalon placed a bona fide order to buy 1,200

shares of CERN at $77.07, which was not executed and subsequently cancelled. Avalon then



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placed another bona fide order to buy 1,200 shares of CERN at $77.10. Avalon's non-bona fide

sell orders created a false appearance of supply, which led other market participants to place

lower priced sell orders that executed against Avalon's bona fide buy order. Avalon thus bought

1,200 shares at an average price of$77.08, which was $0.10 lower than the NBO before

Avalon's non-bona fide orders. Avalon then cancelled all outstanding orders.

               3.     Avalon's Layering Was Pervasive and Profitable

       48.     Avalon repeatedly and systematically manipulated the U.S. stock markets by

engaging in layering. Between December 2010 and at least September 2016, Avalon engaged in

hundreds ofthousands of instances oflayering, involving hundreds of securities traded on

numerous U.S. exchanges and other trading venues. Although Avalon's profit on any single

instance oflayering might have been small, when multiplied by the hundreds of thousands of

instances of layering in which Avalon engaged,the profits totaled many millions of dollars.

       49.     Avalon profited from the layering by retaining a portion ofthe profits and

charging its traders commissions and other fees on each trade. As described below, Avalon

believed and represented that it was one ofthe few places where traders could continue to engage

in layering. As a result, Avalon explicitly charged higher commissions and provided lower

payouts for layering than for other trading strategies.

       50.     Avalon's layering through LEK garnered gross profits in excess of$21 million.

               4.      Avalon and Fayyer Knowingly or Recklessly Engaged in the Layering
                       Scheme

       51.     In engaging in the layering scheme described herein, Avalon and Fayyer knew or

were reckless in not knowing that Avalon—by placing non-bona fide orders for certain

securities—was injecting false information into the market about the supply ofor demand for




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those securities, that it was manipulating the market for those securities, and that it was thereby

engaged in a scheme to defraud.

       52.     In May 2012, an individual who shortly thereafter became an Avalon trade group

leader ("Avalon Trade Group Leader 1")sent Sam Lek an email describing in detail the layering

scheme:

               Layering trading is a special trading stratyge [sic]. For example,
               the bid and ask of symbol X is 90.09 and 90.14, we put buy orders
               in 90.10, 90.11, 90.12, 90.13 and so on, then push the price to
               9020, right now the hid and ask is 90.20 and 90.21, we put a big
               size short order in 90.20 to get a short position, then we cancel all
               ofthe buy orders in 90.10, 90.11, 90.12 and so on. And we put sell
               orders in 90.20, 90.19, 90.18, 90.17 and so on, to push the price to
               90.05, then put a big size buy order in 90.05 to cover position, and
               cancel all of the sell orders .. so we will put hundre[d]s oforders
               to push stock price and then cancel them.

(emphasis added).

        53.     Within a month of sending this email, in June 2012, Avalon Trade Group Leader

1 opened sub-accounts through Avalon's account at LEK and began layering through its account.

Indeed, asub-account associated with Trade Group Leader 1 engaged in the November 1, 2012

layering in CERN described above.

        54.     Avalon and Fayyer knew or were reckless in not knowing that Avalon's traders

were engaged in layering. Indeed, Avalon (acting through Fayyer)touted itself as a destination

for traders who wanted to engage in layering, emphasizing in multiple communications that

Avalon was one ofthe few trading firms that permitted layering:

               (a)     In January 2013, Fayyer emailed a prospective Avalon trade group leader

       ("Avalon Trade Group Leader 2"), stating: "My name is Nathan and I received your

        contact information from Serge [Pustelnik]... He told me that you had a group oftraders

        and were interested in setting ug some accounts for layering and other strategies ... If

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      you are still interested in this, this is definitely something I can help you with ... I am

      one ofthe very few places that still allow layering."

             (b)     In March 2013, Fayyer emailed Avalon Trade Group Leader 2: "For none

      [sic] layering orders you can send as many as you want. For layering, you can send 50-

       100 at a time on different ECN's."

             (c)     In July 2013, Fayyer emailed another Avalon trade group leader("Avalon

      Trade Group Leader 3"), stating: "We allow layering and these sort of strategies only for

      intra day use ..."

             (d)      Until at least early 2013, Avalon's website contained the frequently-asked

       question "Do you offer Multi-Key Capability and Allow this type oftrading?," and

       answered "Yes. You can use multi-key type orders and our compliance has full backing

       oftraders utilizing this sort of strategy." Avalon and its trade groups commonly referred

      to the layering strategy as "multi-key" trading.

       55.    Avalon also touted its relationship with one ofthe only brokers (i.e., LEK)that

permitted layering. For example:

              (a)     In March 2013, Fayyer emailed Avalon Trade Group Leader 2: "the

       broker is not a cheap one, but this is because they do tolerate and protect us from many

       issues such as multi-key trading, which is not allowed anywhere pretty much anymore,

       and other dark pool and scalping strategies which can be described as wash orders by

       many other firms. So you get what you pay for here."

              (b)     In October 2013, Fayyer emailed Avalon Trade Group Leader 1: "They

       are talking about the new rule 15-C [sic], ofthe SEC,I know It very well. They want to




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       forbid any layering or permit any wash sales between the same company user accounts ..

       . looks like LEK is the only solution for now."

       56.      Avalon charged its traders higher fees for layering through Avalon because ofthe

legal perils that layering created. For example:

                (a)    In March 2013, Fayyer emailed Avalon Trade Group Leader 2: "For

       layering strategy, the payout is what I have written below. It is a set schedule as costs to

       protect layering are very high these days from our legal team. Also, there are almost no

       places that allow this."

                (b)    In March 2013, Fayyer emailed Avalon Trade Group Leader 2: "layering

       [] is a bit more costly [than non-layering] as we pay very big legal bills every month to be

       protected."

                (c)     In Apri12013, Fayyer emailed Avalon Trade Group Leader 2: "It costs a

       lot of money for legal expenses to keep this going these days as no other firms allow

       this."

                (d)     In May 2013, Fayyer emailed another Avalon trade group leader

       ("Avalon Trade Group Leader 4"): "commission is standard, layering is VERY

       expensive now, and we pay very big legal bills to protect this. A lot offirms don't have

       this ability and kick traders out. we do. so the commission schedule is standard."

       57.      Avalon and Fayyer closely monitored trading activity by its traders to ensure that

Avalon collected higher fees for layering. For example, in April 2013, Fayyer emailed Avalon

Trade Group Leader 2: "We know this business very well and we will see right away if you are

layering. Even if it is dark pool layering, we know all these strategies."




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       58.     LEK deducted 50% ofthe legal expenses it incurred due to regulatory inquiries

and investigations concerning Avalon's trading from Pustelnik's LEK compensation. Avalon

then reimbursed Pustelnik in full for the deducted legal expenses.

       59.     Fayyer and Pustelnik each received a share of Avalon's profits from the

manipulative trading. In addition, Pustelnik received a share of LEK's commissions and other

fees and rebates from the manipulative trading.

       D.      LEK and Sam Lek Knowingly or Recklessly Participated In and
               Substantially Assisted the Laverin~ Scheme

               1.     LEK and Sam Lek Knew or Were Reckless in Not Knowing that Avalon
                      Was Layering Through LEK,and that the Layering Was Manipulative
                      and Fraudulent

       60.     LEK and Sam Lek knew or were reckless in not knowing that Avalon was

engaged in layering, that it was thereby manipulating the markets, and thus committing fraud,

but LEK and Sam Lek nevertheless participated in and substantially assisted the scheme.

       61.     As discussed above, in May 2012, Avalon Trade Group Leader 1 described the

specifics of the layering scheme in an email to Sam Lek. As Trade Group Leader 1 phrased it,

"so we will put hundre[dJs oforders to push stock price and then cancel them." (emphasis

added).

       62.     Sam Lek responded to Avalon Trade Group Leader 1's email by stating,

"regulators have argued that your trading strategy `layering' is manipulative and illegal. This is

of concern to us even though I do not agree with their position." Trade Group Leader 1 replied,

"[w]e know it's illegal to trading `layering', but it is not absolute ...The most important is our

lay[er]ing strategy] is softly compared to before.."

       63.     Although LEK was already on notice through regulatory inquiries that layering

was occurring in Avalon's account, in September 2014, Sam Lek learned that the specific traders


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associated with Avalon Trade Group Leader 1 had opened sub-accounts with Avalon in or

around June 2012(within a month ofthe above communication) and begun trading through

Avalon's account at LEK. Despite this notice, LEK and Sam Lek took no action to restrict or

terminate trading by Avalon Trade Group Leader 1's traders. Those traders engaged in

thousands of additional instances oflayering through Avalon's account at LEK in 2015 and

2016.

        64.    Beginning at least as early as 2012, regulators, exchanges, and other market

participants repeatedly notified LEK and Sam Lek that layering was occurring in the Avalon

account, in multiple instances providing LEK and Sam Lek with detailed descriptions ofthe

layering that was occurring and describing the manipulative effects, as reflected in the following

examples:

               (a)     In July 2012, abroker-dealer informed LEK that FINRA had identified

        order flow from LEK as potentially manipulative, provided the specific dates and

        securities ofthe conduct, and explained that it "shows a series oftransactions where a

        large trade is entered on one side ofthe market, then a series of orders are placed on the

        opposite side ofthe market that appeared to narrow the bid or offer. The large trade then

        executes, and then the smaller orders on the opposite side ofthe market are cancelled."

        The trading identified in this communication included actual instances of layering by

        Avalon through LEK.

               (b)     In September 2012, FINRA contacted LEK and informed it that trading

        activity by Avalon through LEK "appears consistent with a manipulative practice called

        layering." FINRA encouraged LEK to review FINRA's settlement with Trillium, which




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      described layering in detail.l The trading identified by FINRA in this communication

      included actual instances oflayering by Avalon through LEK.

             (c)      In December 2012, Bats Global Markets exchange ("Bats Exchange")

      brought possible layering through LEK to LEK and Sam Lek's attention, and advised

      them to look for "any types of patterns... where they're putting a tremendous amount of

      size on one side ofthe market or the other, and it looks like potentially they could be

      inducing or tricking somebody into trading [with their] hidden order [on the other side of

      the market]."

             (d)      In July 2013, Bats Exchange informed LEK and Sam Lek that it was

      seeing a "clear cut cross-market layering strategy" by Avalon coming through LEK,

      including "1,700 instances [of layering] over the last two days." Bats Exchange

      described the strategy in detail: "we see a concentrated number of orders come in on one

      side ofthe market and the market moves in a downward motion, and then we see

      immediate deletion ofthose orders. And then when we do across-market analysis to see

       what happened in between the time the order book was filled to the time that all the

       orders were removed to see if anyone was executing to take advantage ofthat activity,

       we're seeing the concentration where Lek's CRD number is on the other side ofthose

       contra-side executions." Bats Exchange subsequently sent LEK a letter identifying

       specific instances of layering by Avalon through LEK. Following these communications,

       LEK stopped sending Avalon's orders to Bats Exchange and instead routed Avalon's




i See Trillium Brokerage Services, LLC,FINRA Letter of Acceptance, Waiver and Consent, No.
2007007678201 (August 5, 2010).


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       orders only to other exchanges and venues. The trading flagged by Bats Exchange

       included actual instances of layering by Avalon through LEK.

              (e)     In November 2013, Direct Edge exchange called LEK and,in the words of

       Sam Lek when he later described the call to Fayyer,"expressed great concern about some

       ofthe trading that Avalon has been doing through our firm. They told us that Avalon

       appears to be conducting manipulative trading strategies, such as wash sales and layering,

       by placing certain trades through our firm and other related trades through one or more

       broker-dealers."

              (~      In November 2013, a NYSE Hearing Board found that LEK had violated

       various exchange rules by, among other things, failing to supervise and implement

       adequate risk controls for spoofing (which includes layering), wash trading, and marking

       the close.

              (g)     In July 2014, FINRA notified LEK and Sam Lek that it believed that they

       had failed to adequately monitor trading activity by Avalon and failed to implement

       procedures and systems designed to monitor and surveil for manipulative trading.

              (h)     In Apri12015, FINRA again alerted LEK and Sam Lek that Avalon might

       be engaged in manipulative trading through LEK, and that LEK and Sam Lek's conduct

       may have aided the manipulative trading.

              (i)     From at least March 2016 through September 2016,FINRA advised LEK

       on a monthly basis that it continued to see substantial layering activity through LEK.

       65.    LEK and Sam Lek received numerous additional inquiry letters from regulators

asking it to provide information on Avalon's trading, often asking for an explanation ofthe




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trading strategy and how it was legitimate. Nonetheless, Avalon's layering through LEK

persisted.

                 2.     LEK and Sam Lek Participated in and Provided Substantial Assistance
                        to Avalon's Layering By Engaging in Acts or Omissions that Facilitated
                        and Permitted the Layering

       66.       LEK and Sam Lek participated in and provided substantial assistance to Avalon's

layering in several ways, including but not necessarily limited to providing Avalon with access

to the markets that only a registered broker-dealer such as LEK could provide, implementing

ineffective controls for layering and then relying even those controls as needed in order to

permit Avalon to continue its layering, and failing to implement any reasonable controls to

prevent or detect layering.

       67.       As a registered broker-dealer, LEK was able to provide traders and trading firms

with access to the markets, including the various exchanges and other venues.

       68.       LEK,under Sam Lek's direction and with his consent, provided Avalon with

market access to conduct trading—including the layering activity described herein—even though

LEK and Sam Lek knew or were reckless in not knowing that Avalon was engaged in layering,

and that Avalon's layering activity was manipulative and fraudulent.

       69.       LEK and Sam Lek claimed that they took steps to attempt to prevent layering

through the firm. But in fact, as described below, LEK's and Sam Lek's supposed efforts to

prevent layering were mere window-dressing, and they knew or were reckless in not knowing

that these purported efforts were not preventing layering and that layering was continuing on a

massive scale.

       70.       In February 2013,LEK implemented a supposed layering control through a

portion of its proprietary Q6 program (hereafter "Q6 Control"). Sam Lek made all relevant



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decisions concerning the design and implementation ofthe Q6 Control. The purported purpose

ofthe Q6 Control was to prevent layering from occurring by blocking trading that fit a certain

pattern. The Q6 Control was triggered in certain instances when a trader traded or attempted to

trade on both sides ofthe market and did so with a disproportionate number of orders on one of

those sides. Q6 counted the number of buys and sells, and blocked additional buys or sells if the

difference in number of orders between the two (referred to as "delta") met a certain threshold

set by LEK.

       71.     As LEK and Sam Lek knew or were reckless in not knowing,the Q6 Control was

insufficient to prevent layering in the Avalon account, and Avalon engaged in hundreds of

thousands ofinstances of layering for years after LEK implemented its Q6 Control.

       72.     LEK's Q6 Control failed to prevent layering for two primary reasons:

              (a)     First, the Q6 Control only blocked non-bona fide orders when the trader

       had already placed a resting bona fide order; the Q6 Control was not triggered if the non-

       bona fide orders were placed before the bona fide order. Avalon could thus easily evade

       the Q6 Control simply by placing non-bona fide orders before entering any bona fide

       order(s). Indeed, the May 2012 email from Avalon Trade Group Leader 1 to Sam Lek,

       cited above, described layering as first placing non-bona fide orders to "push the price"

       and then entering the bona fide order. LEK and Sam Lek thus knew or were reckless in

       not knowing that layering would occur despite the Q6 Control, yet failed to modify the

       Q6 control to make it effective or to otherwise use any effective system to monitor for

       layering.

              (b)      Second, in response to requests and complaints from Avalon, Fayyer,

       Pustelnik, and Avalon Rep 2, LEK quickly relaxed the threshold for Avaion's accounts to



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       levels at which layering could continue to occur more widely. The Q6 Control initially

       allowed a delta of 10. LEK,Sam Lek, and Pustelnik caused this number to be relaxed for

       Avalon specifically. Within one week ofimplementing the control, LEK moved the delta

       for the Avalon account to 100. At all times thereafter, the delta for the account was

       between 50 and I00, and, except for athree-month period in 2013, was above the

       threshold level of 10 for Avalon sub-accounts. Indeed, Fayyer reassured Avalon's traders

       that they could continue to layer after LEK relaxed the delta for the Q6 Control.

       73.     As detailed below, Pustelnik, as a LEK registered representative and for whose

conduct LEK is responsible, encouraged LEK to relax the Q6 Control delta for Avalon, falsely

representing that Avalon was not engaged in layering. Pustelnik knew or was reckless in not

knowing that Avalon was engaged in layering, and Pustelnik's advocacy for a less stringent

threshold in the Q6 Control was part of Pustelnik's participation in and substantial assistance to

Avalon's layering scheme.

       74.     Sam Lek authorized modification ofthe Q6 Control specifically for Avalon.

       75.     By relaxing the Q6 Control for Avalon's accounts, and despite repeated inquiries

from regulators about Avalon's manipulative trading, LEK and Sam Lek allowed Avalon to

continue engaging in layering and substantially assisted Avalon in carrying out its manipulative

layering scheme. Despite Avaion's and Pustelnik's denials that Avalon was engaged in layering,

LEK and Sam Lek knew, or were reckless in not knowing,that Avalon was engaged in layering

and thus manipulating the markets. LEK and Sam Lek knew or were reckless in not knowing

that relaxing the threshold levels in the Q6 Control facilitated and permitted Avalon's layering.




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               3.     LEK and Sam Lek Took No Adequate Steps to Monitor For and Prevent
                      the Layering

       76.     Despite the fact that they knew or were reckless in not knowing that Avalon was

conducting layering through its account at LEK,LEK and Sam Lek did not implement adequate

systems or procedures to monitor and surveil far layering. For example, despite repeated notice

from regulators and others that Avalon was engaged in manipulative layering through LEK,at no

time did LEK and Sam Lek implement an exception report or any other device through which

they reasonably could have expected LEK personnel to identify potential layering or to ensure

that the Q6 Control was working. LEK personnel did not monitor Avalon's trading beyond

sometimes purportedly viewing Avalon's trading in "real-time." Given the number oftrades and

orders placed through LEK and the speed at which orders were placed and cancelled, monitoring

for layering in real-time would have been an impossible task without systematic surveillance

reports or similar tools, and Sam Lek could not reasonably have expected such efforts to be a

meaningful way to detect layering. Sam Lek himself conducted occasional ad hoc reviews of

trading identified as layering in regulatory inquiries, but he attempted to justify the trading to

regulators and permitted it to continue, even though he knew or was reckless in not knowing that

such trades were manipulative.

       77.     LEK and Sam Lek did not add layering to LEK's internal Written Supervisory

Procedures as conduct that the firm prohibited, nor did they provide LEK employees with

training on layering, even after regulators, exchanges, and other market participants repeatedly

notified LEK and Sam Lek that layering was occurring in the Avalon account.

        78.    LEK profited from the layering scheme through its receipt of commissions,

trading rebates and fees from Avalon's trading.




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       E.      Pustelnik Knowin~ly or Recklessly Particivated In and Substantially
               Assisted the Layering Scheme

               1.      Pustelnik KMew or Was Reckless in Not Knowing That Avalon Was
                       Engaged in Layering and Thereby Manipulating the Market and
                       Engaging in Fraud

       79.     Pustelnik knew or was reckless in not knowing that Avalon was engaged in

layering, that Avalon was thereby injecting false information into the market, that it was

manipulating the market for the securities that were the targets of its layering scheme, and that it

was thereby engaged in a scheme to defraud, and which operated as a fraud. Pustelnik also knew

or was reckless in not knowing that his actions described herein facilitated and substantially

assisted the fraud.

       80.     As both a LEK registered representative and as an undisclosed control person of

Avalon, Pustelnik had a significant financial interest in Avalon's trading on multiple levels.

Avalon was Pustelnik's largest client at LEK,and as the registered representative, he earned

millions of dollars in commissions and other rebates from Avalon's trading between 2011 and

2015. Pustelnik also had direct financial ties to Avalon. Pustelnik provided Avalon with

$100,000 to fund its account at LEK in 2010, which Avalon repaid with interest. Avalon's

internal records show that it allocated a substantial share of its profits to Pustelnik.

       81.      Pustelnik was instrumental in bringing traders to Avalon to conduct layering

through LEK. For example, in August 2011, Avalon Trade Group Leader 2, who was looking

for a firm through which he could engage in layering, sent a chat message to Pustelnik asking

"Do u know where can trade lawyering [sic] strategy." Between August 2011 and January 2013,

Pustelnik discussed with Avalon Trade Group Leader 2 the possibility of moving his traders to

LEK. Finally, in January 2013, Fayyer emailed Avalon Trade Group Leader 2, stating: "My

name is Nathan and I received your contact information from Serge [Pustelnik]... He told me


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that you had a group oftraders and were interested in setting up some accounts for layering and

other strategies ..."

       82.     A December 2012 email chain among Fayyer, Pustelnik and another Avalon trade

group leader("Avalon Trade Group Leader 5")includes an email from Avalon Trade Group

Leader 5 stating:

                Serge introduce me to you and that is where it all began ... I
               called thinking that there may be mutual business that we can do
               and NOT just layering. Also layering it is just one part of business
               what I was offering we do."

Fayyer replied to Avalon Trade Group Leader 5, with a copy to Pustelnik, stating,
«$ is $.»

        83.    Pusteinik was also aware that regulators had characterized Avalon's trading as

layering. Sam Lek and others at LEK informed Pustelnik of a number ofthe communications

from FINRA and others expressing concern about manipulation ofthe market through layering

by Avalon. For example:

               (a)      On September 13, 2012, Sam Lek sent Pustelnik a FINRA inquiry

        concerning certain trading by Avalon and requesting,"[a] more fulsome explanation from

        Lek (or its customer, Avalon FA,LTD)as to what type oftrading strategy is being

        employed and how this trading activity is not in any way manipulative or otherwise

        consistent with the manipulative practice commonly referred to as Layering."

               (b)      On September 23, 2013, another LEK official sent Pustelnik an email

        concerning "16 cases involving Avalon" and attaching detail on those matters, including

        one concerning layering.




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              2.      Pustelnik Participated in and Substantially Assisted the Layering
                      Scheme

       84.    Pustelnik participated in and substantially assisted the layering scheme in various

ways,including but not necessarily limited to recruiting Avalon traders for the purpose of

layering, falsely denying that Avalon was engaged in layering, and encouraging LEK to relax the

Q6 Control, its sole system that supposedly was designed to prevent layering. Indeed,Pustelnik

was instrumental in causing LEK to increase the delta threshold so that Avalon could more freely

engage in layering. For example:

              (a)     On February 1, 2013, in connection with LEK's introduction ofthe Q6

       Control, Pustelnik emailed a LEK officer, stating that LEK's Q6 Control should ignore

       market on open and market on close orders. The LEK officer agreed and said,

       "[a]nything else you can think of?" Pustelnik replied: "They'll come up with time. Ave

       [Avalon] got really hurt by this today. We are on it." The LEK officer responded:

       "That's why I wanted you to test drive it ... As discussed with Nathan [Fayyer], if you

       come up with explanation of the strategy and why it's not layering, I am happy to

       increase the threshold."

              (b)     On February 6, 2013,Pustelnik emailed a LEK officer, urging him to

       increase the Q6 Control delta to 75 for Avalon's accounts. In the email, Pustelnik

       included a message from an Avalon trade group leader("Avalon Trade Group Leader 6")

       to Pustelnik stating: "so, can you solve the problem`? Or it will happen everyday????? We

       really can't go on to be like this, we get a lot loss because this." Sub-accounts associated

       with Avalon Trade Group Leader 6 had engaged in thousands ofinstances oflayering

       through Avalon's accounts at LEK up to the date ofPustelnik's email. Following the




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       relaxation of the Q6 Control, sub-accounts associated with Avalon Trade Group Leader 6

       engaged in tens ofthousands of additional instances oflayering.

              (c)     Also on February 6,2013, another LEK officer sent Fayyer and Pustelnik

       an email with a list oftrades from the Q6 Control along with a note: "Please address

       Layering Detection issues with your Traders." Pustelnik responded "Nothing to address

       with the traders. Its not Layering."

              (d)     Pustelnik knew or was reckless in not knowing that Avalon was engaged

       in layering, and through his efforts to persuade other LEK personnel that layering was not

       occurring, Pustelnik participated in and substantially assisted the scheme.

              (e)     In response to Pustelnik's and Avalon's pleas to rely the Q6 Control

       delta, on or about February 13, 2013, LEK relaxed the delta for Avalon's account by

       increasing it from 10 to 100, and set the deltas for Avalon's sub-accounts at 20. These

       relaxed thresholds allowed Avalon's layering to continue.

              (fl     After these changes,from February 13, 2013 through September 2016,

       Avalon engaged in hundreds ofthousands of additional instances of layering through its

       account at LEK.

       85.    Pustelnik profited from the continuation ofthe layering scheme by his receipt of

profits from Avalon, and his receipt of commissions and other fees and rebates from LEK.

       F.     Avalon's Cross-Market Maniuulation

              1.      Description ofthe CrossMarketScheme

       86.    Between at least August 2012 and December 2015, Avalon engaged in a cross-

market manipulation scheme whereby Avalon bought and sold U.S. stock at a loss for the

purpose of artifcially moving the prices ofcorresponding options, so that Avalon could



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profitably trade those options. Avalon engaged in this strategy hundreds oftimes, reaping

millions of dollars in profits from doing so.

       87.     The cross-market scheme worked as follows:

               (a}     Avalon employed the cross-market strategy by engaging in a series of

       transactions in stocks and corresponding options whose prices Avalon could significantly

       impact through its stock trading, such that Avalon's stock trades could and would

       artificially move the price of the stock and corresponding options.

               (b)     Avalon began by buying or selling stock, not for any legitimate purpose

       but instead for the purpose of pushing the price of the stock higher(by buying)or lower

       (by selling). In fact, Avalon's trades did move the price ofthe stock.

               (c)     Avalon's stock trades caused the price of corresponding options in that

       security also to move significantly, so that Avalon could take advantage of that change in

       the price ofthe options. For example, buying the stock would cause the price ofthe stock

       to rise, which would in turn cause the price of corresponding put options to decrease.

               (d)     Avalon then bought or sold large quantities ofthe options at the artificially

       more favorable price that Avalon's stock trades had just caused. For example, when

       Avalon bought the stock in a particular security, it pushed the price ofthe stock up, and

       made the put options for that security cheaper. Avalon then bought laxge quantities of put

       options at a price lower than would have been available absent Avalon's stock trades.

               (e)     After Avalon completed its initial, manipulative stock trades to push the

       price ofthe stock to artificial levels, as expected, the price ofthe stock generally moved

       back toward its original price level. This increased the profitability of Avalon's option

       position. For example, when Avalon bought stock and thereby pushed the stock price up



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(and the corresponding put options price down),the price ofthe stock thereafter generally

moved back down toward its original level(and the corresponding put options price

moved up), thereby increasing the value of Avalon's Large position in put options.

       (fl     As Avalon further anticipated, planned and intended, in response to

Avalon's large options purchases,(i) market makers for those options would typically

hedge their risk in response to Avalon's large options trades by trading in the

corresponding stock, and (ii) this stock trading impacted the stock price and thus resulted

in pushing the price ofthe options further in a favorable direction for Avalon. For

example, when Avalon had purchased large quantities of put options, market makers

typically hedged by selling the corresponding stock,which further pushed the price ofthe

stock down,and pushed the price ofthe put options up.

       (g)     Avalon then further manipulated the price ofthe options by unwinding its

own position in the stock (for example, selling stock if it had bought originally). Avalon

did this as part of its manipulative strategy to further push the price ofthe options it had

purchased in a more favorable direction. For example, after Avalon purchased put

options at an artificially cheaper price caused by its purchase of stock, Avalon then sold

its stock position, which pushed the price ofthe stock down further and pushed the price

ofthe put options up. Indeed, Avalon sold the stock at a loss (i.e., sold it for less than

Avalon paid for it), but that loss was more than overcome by the substantial profits it

made in trading in the options (see next subparagraph).

       (h)     Avalon then unwound its option positions at more favorable prices, for a

significant profit that resulted from its manipulative actions described above. For

example, in instances in which Avalon bought stock (pushing the price of put options



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       down), then bought a larger position ofthe options at a cheaper price, then sold the stock

       (pushing the price ofthe options back up), Avalon would then sell the options at the

       higher price caused by Avalon's manipulation ofthe prices.

               (i)    The examples described in the above subparagraphs involved instances in

       which Avalon carried out the scheme by initially purchasing and later selling stock in

       order to manipulate the prices of put options. Avalon carried out the scheme in varied

       ways through combinations of buying and selling stock and corresponding put and call

       options. But whatever the combination of purchases and sales ofstock and options by

       Avalon,the fundamentals ofthe cross-market manipulation were the same: Avalon made

       purchases and sales of stock for the purpose of manipulating prices of options so that

       Avalon could buy options at lower prices and sell them at higher prices than if Avalon

       had not engaged in the manipulative stock transactions.

       88.     By engaging in the cross-market manipulation, Avalon and its traders knew or

were reckless in not knowing that they were engaged in manipulative and fraudulent conduct

because Avalon's stock trades had no legitimate economic reason, Avalon intended them to

inject into the market false information about supply and demand for the purpose oftricking and

inducing other market participants to enter into transactions based on that false information, and

for the purpose of moving stock and corresponding options prices to artificial levels.

               2.     Example ofCrossMarket Manipulation by Avalon

       84.     The cross-market manipulation is illustrated by Avaion's trading in Deckers

Outdoor Corporation("DECK")stock and put options on October 3, 2014:




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       (a)     Avalon began buying DECK stock at 12:56:25 p.m., when the midpoint of

the NBBO for DECK stock was $94.36. By 1:04:57 p.m., Avalon had accumulated a

position of 32,549 shares.

       (b)     Between 12:56:25 and 1:04:57 p.m., Avalon's purchases accounted for

approximately 69.5% ofthe trading volume in DECK and the NBBO midpoint ofDECK

stock rose from $94.36 to $95.135, an increase of0.82%. There were no material news

events relevant to DECK during this period that would have caused the price increase.

The artificial increase in the stock price of DECK caused the price of put options for

DECK stock to decrease artificially (because the value of a putthe right to sell shares at

a specific price—declines in value as the underlying stock price increases).

       (c)      At 1:04:57 p.m., shortly after its stock position reached its maximum

during the manipulation of 32,549 shares and the NBBO midpoint ofDECK had reached

its maximum during the manipulation of$95.135, Avalon purchased 951 put options, the

equivalent of 95,100 shares. Avalon's purchases of DECK put options were at artificially

low prices as a result of Avalon's prior stock trade purchases.

       (d)      After Avalon purchased the puts, the NBBO midpoint of DECK stock fell

from $95.135 to $94.72 between 1:04:57 and 1:08:14 p.m.(which would be the normal

and expected result ofthe price moving back toward to its original level and market

makers' hedging by selling stock in response to Avalon's options purchases). The

decline in the stock price resulted in an increase in the value ofthe related put options

(because, as the price of the stock declines, the put option to sell shares at a specific price

increases).




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       (e)     At 1:08:14 p.m., Avalon started selling shares to liquidate its long stock

position, and completed liquidating its stock position by 1:48:00 p.m. During this period,

Avalon's sales of DECK shares accounted for 26.1% ofthe total trading volume of

127,697 shares, and the price of DECK further declined from $94.72 to $93.98, or by -

0.79%. There were no material news events relevant to DECK shares during this period

to cause the decline. The stock price decline resulted in an increase in the related put

options price during the same time period.

       (~      Avalon sold 14 puts shortly after it began liquidating its stock position and

then acquired an additional 68 puts at various times between 1:16:28.203 and

1:30:20.620, ending up with a position of985 puts by 1:30:20.620. Avalon then sold the

put options for a profit.

       (g)     In sum, in this trading example, Avalon purchased 1,019 puts at an

average price of$2.513 per contract, and sold the same number of puts within 30 minutes

at average price of$3.049 per contract, for an average profit of$0.536 per contract and a

total profit of$54,640. Avalon generated these profits by(1)using stock trades to

artificially depress the price ofthe conespanding put options contracts;(2) buying the put

options at the artificially deflated price;(3)unwinding the stock trades which, combined

with other anticipated and expected market maker activity described above,increased the

price ofthe options contracts; and (4)selling the options contracts at a profit. Avalon's

DECK stock trades resulted in a loss of $29,707 in this example, a loss that was

outweighed by its $54,640 profits from the options trades. Avalon's net gross profits in

this cross-market manipulation ofDECK stock and options were $24,933.




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               3.      Avalon Repeatedly Manipulated the Prices ofSecurities and Induced
                       Others to Trade at Artificial Prices Through the Cross-Market
                       Manipulation

       90.     Avalon executed the cross-market manipulation through Avalon's account at LEK

over 600 hundred times between August 2012 and December 2015. The cross-market

manipulation scheme generated profits for Avalon of more than $7 million. The cross-market

scheme was carried out primarily if not exclusively by a particular Avalon trade group identified

as the number 038 sub-account.

       91.     Through the cross-market manipulation, Avalon engaged in a series of

transactions in securities that had the effect of creating actual or apparent volume or raising or

depressing prices with the specific intent or purpose to induce others to trade in the security. In

doing so, Avalon knowingly and intentionally injected false information into the market and

interfered with market forces.

               4.      Avalon and Fayyer Knowingty or Recklessly Engaged in the Cross-
                       Market ltfanipulation Scheme

       92.     In engaging in the cross-market manipulation scheme described herein, Avalon

and Fayyer knew or were reckless in not knowing that Avalon was injecting false information

into the market about the supply of or demand for those securities, that it was manipulating the

market for those securities, and that it was thereby engaged in a scheme to defraud.

       93.     Avalon and Fayyer knew that Avalon's traders were engaged in the cross-market

manipulation. Fayyer(acting on behalf of Avalon)took steps including but not limited to

approving the execution of the cross-market manipulation strategy through Avalon's account,

communicating and negotiating with the Avalon traders engaged in the strategy, and urging LEK

to undertake tecl~nolagical upgrades to increase the effectiveness and profitability ofthe strategy.

Fayyer understood that the strategy involved trading stocks and options anct taking a loss on one


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ofthose positions for the purpose of obtaining a profit on the other position, and knew of

regulatory inquiries regarding Avalon's cross-market manipulation.

       94.     Avalon provided millions of dollars in trading capital to carry out this scheme.

Avalon also paid tens ofthousands of dollars to obtain Logistical support and technology

necessary for the execution ofthe strategy.

       95.     Fayyer and Pustelnik each received a share of Avalon's profits from the

manipulative trading. In addition, Pustelnik received a share of LEK's commissions from the

manipulative trading.

       G.      LEK and Sam Lek Knowin~ly or Recklessly Participated In and
               Substantially Assisted Avalon's Cross-Market Manipulation Scheme

               1.       LEK and Sam Lek Knew or Were Reckless in Not Knowing that Avalon
                        Was Engaged in the Cross-Market Strategy Through LEK,and that the
                        Cross-Market Strategy Was Manipulative and Fraudulent

       96.     Avalon conducted the cross-market scheme through its account at LEK during

most ofthe period from August 2012 through approximately December 2015.

       97.     LEK and Sam Lek knew or were reckless in not knowing that Avalon was

executing the cross-market manipulation through LEK. Sam Lek was personally aware that

Avalon was employing the cross-market strategy, and he observed Avalon executing the stock

and options trades to carry out the cross-market strategy through LEK's trading system. Thus,

LEK and Sam Lek knew or were reckless in not knowing how Avalon was carrying out the

cross-market manipulation and that the strategy was manipulative and fraudulent. In addition,

Pustelnik, as a LEK registered representative acting on LEK's behalf, knew or was reckless in

not knowing that Avalon was engaged in the cross-market manipulation scheme and that the

trading was manipulative and fraudulent.




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       98.    Shortly after Avalon began the cross-market strategy in or about August 2012,

LEK and Sam Lek began to receive notice from regulators and others that the strategy was

occurring through LEK and was manipulative or otherwise improper, including but not limited to

the following notices:

              (a)        Within a week after Avalon began executing the cross-market strategy in ,

       August 2012, FINRA staff contacted LEK and Sam Lek, requested additional

       information about the trading, and advised LEK and Sam Lek that FINRA viewed the

       trading as potentially manipulative. LEK and Sam Lek reviewed the trading, and, after

       doing so, expressly approved Avalon's continued execution of the cross-market

       manipulation through LEK.

              (b)        In August and September 2012, abroker-dealer to which LEK routed

       orders flagged Avalon's trading as potentially manipulative and requested that LEK shut

       off order flow from the Avalon account.

              (c)        Over the next six months, FINRA followed up with additional inquiries

       and,in January 2013, met with LEK and Sam Lek and again expressed its views that the

       trading was manipulative.

              (d)        LEK and Sam Lek were aware that FINRA reached a settlement with HAP

       Trading(on behalf of multiple exchanges)in May 2014 based on a substantially similar

       strategy.2 In June 2014, FINRA. again requested that LEK "continue to review activity

       [ofthe cross-market strategy] and address any potential manipulative activity involving




2 See In re HAF Trading, LLC', et aZ., NYSE ARCA,Inc. Proc. Na. 20100233913-02(May 12,
2014).


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       both option and stock trading in the same underlying effected by the same account

       holder."

               (e)     FINRA also included such behavior in its annual Regulatory and

       Examination Priorities Letters for every year between 2013 and the present, which LEK

       and Sam Lek purported to review and disseminate to LEK's registered representatives.

               2.      LEK and Sam Lek Participated and Substantially Assisted Avalon in
                       Implementing the CrossNfarket Strategy

       99.     Instead of taking steps to halt the cross-market strategy, LEK and Sam Lek in fact

participated in the scheme and provided substantial assistance to Avalon in ways including but

not limited to providing technology and other services needed to increase the effectiveness, and

profitability, ofthe strategy.

        100.   For example, throughout at least 2013 and 2014, at Avalon's request, LEK

undertook significant work and expense to decrease latency (the time between the traders

entering the order on the trading platform and the order arriving at the exchange)in trading

options through LEK, which was crucial to the success ofthe strategy. LEK's actions included

upgrading its options gateways; providing a dedicated server for Avalon's sole use to route the

trades; housing and maintaining Avalon servers that acted as a gateway for the strategy; moving

the location of its servers to a proximity that allowed quicker connections for the options

strategy, allowing Avalon a more direct route to exchanges and thereby reducing latency; and

paying monthly fees for special options ports. These actions were taken by LEK at the urging of

Avalon, Fayyer, and Pustelnik, and were approved and authorized by Sam Lek.

        101.    LEK and Sam Lek at all times had the authority and ability to terminate or restrict

Avalon's execution ofthe cross-market manipulation through LEK's systems, but instead

expressly approved the cross-market manipulation, and continued~to provide market access and

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margin lending that made it possible for Avalon to execute the strategy, even though LEK and

Sam Lek knew or were reckless in not knowing that the strategy was manipulative and

fraudulent. LEK and Sam Lek's actions and the assistance they provided made the strategy

possible and increased its effectiveness and profitability. As described in more detail below,

Pusteinik, as a LEK registered representative and for whose conduct LEK is responsible,

participated in and took additional acts to assist the cross-market manipulation.

       102.    LEK profited from the cross-market scheme through its receipt of commissions,

trading rebates and fees from Avalon's trading.

       H.      Pustelnik Knowin~ly or Recklessly Participated in and Substantially Assisted
               the Cross-Market Manipulation

               1.      Pustelnik Knew or Was Reckless in Not Knowing That the Cross-Market
                       tl~anipulation Scheme Was Fraudulent

       103.    Pustelnik knew or was reckless in not knowing that the cross-market manipulation

 scheme was manipulative and fraudulent. Pustelnik discussed the strategy directly with the

 Avalon traders who carried out the cross-market strategy, including but not limited to

 discussions in August 2012, after Pustelnik learned that FINRA had flagged the trading as

 manipulative. Pustelnik understood and had ample knowledge of how the strategy worked.

Indeed, Pustelnik knew that there was no economic rationale for the stock trades other than to

 manipulate and move the prices ofthe stock and corresponding options and that the strategy

 almost always involved taking a loss on the stock trades, in order to obtain a profit on the

 options trades that was greater than the Loss on the stock trades.

       104.    Pustelnik served as the go-between for LEK and the Avalon traders who carried

out the cross-market strategy. Pusteinik met with those traders more than a dozen times.

Pustelnik explained the strategy to Sam Lek and other LEK officers at various times throughout



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the relevant period, particularly in response to regulatory inquiries about the strategy directed to

LEK,and he assured them it was not manipulative, even though he knew or was reckless in not

knowing that it in fact was. Pustelnik enlisted LEK's and Sam Lek's help in improving LEK's

technology to accommodate the strategy and maximize its effectiveness.

               2.      Pustelnik's Role in the CrossMarket Maniputation Through LEK

        105.   Pusteinik played a central role in bringing the cross-market manipulation to LEK

and ensuring its success. The cross-market manipulation scheme was carried out by two

particular Avalon traders primarily located in Moscow. Pustelnik recruited those traders in June

2012, at which time Pustelnik touted the speed of LEK's trading technology, and by August

2012,the traders began executing the strategy through Avalon and LEK.

        106.   Pustelnik helped LEK develop and institute the technological changes to its

systems that were necessary for the cross-market manipulation to work, and continued to work

with LEK throughout the relevant time period to improve its systems to increase the

effectiveness ofthe strategy. The cross-market manipulation required high speed for entry and

display of orders. Pustelnik—who has boasted of having considerable expertise in the relevant

technology—worked with LEK to institute technology sufficient to accommodate the cross-

market manipulation. Throughout late 2012 and early 2013,Pustelnik urged LEK to improve its

options trading technology so that Avalon would continue to trade the cross-market strategy

through LEK. In fact, Pustelnik personally paid a portion ofthe monthly cost of LEK's options

ports to facilitate entry of Avalon's options orders.

        107.    Pustelnik provided on-site technological assistance to the traders at their Moscow

office and at Avalon's Kiev office, where they sometimes came to trade.




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        108.   Through Pustelnik's role as a registered representative of LEK and the

relationships he had with LEK employees, he aggressively encouraged and advocated for the

cross-market strategy.

        109.   After FINRA questioned the strategy as being potentially manipulative in August

2012, and again met with LEK to express its concerns about the strategy in January 2013,

Pustelnik provided LEK with a written description ofthe strategy, representing that he had

concluded that it was not manipulative after studying the strategy and speaking directly with the

traders. Pustelnik knew or was reckless in not knowing that this purported conclusion was false,

 because the cross-market strategy was inherently manipulative and fraudulent.

               3.        Pustelnik Moved the CrossMarket Manipulation to Investment
                         Management Firm and Other BrokerDealer

        110.    Pustelnik actively took steps, including but not necessarily limited to those

 described below,to ensure the continued success ofthe cross-market strategy, even when faced

 with regulatory inquiries and technological constraints, and even though he knew or was reckless

` in not knowing that the strategy was manipulative.

        111.    In approximately February 2013, after FINRA had contacted LEK and raised

 concerns about the strategy, and in the midst of negotiating with LEK for technological

improvements to facilitate the strategy, Pustelnik—rather than being deterred, and without

informing LEK—orchestrated the move ofthe strategy from Avalon's accounts at LEK to

 accounts held in the name ofInvestment Management Firm at Other Broker-Dealer.

        112.    Pustelnik played a central role in causing the cross-market strategy to trade

through Investment Management Firm. In or about February 2013, Pustelnik introduced the

 strategy to Investment Management Firm. Pustelnik was one ofjust a few people who discussed

the cross-market strategy and its risks with Investment Management Firm. Yet Pustelnik did not
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inform Investment Management Firm or Other Broker-Dealer that FINRA had flagged the

activity as manipulative.

       113.     Pustelnik negotiated with Investment Management Firm initially to determine and

later to increase the amounts of margin lending or buying power that Investment Management

Firm would provide to the traders for the cross-market strategy.

       114.     Pustelnik then arranged for the Avalon traders who executed the trading in the

cross-market strategy to operate through Blaise Greys(a Fayyer-owned entity}, which in turn

traded through accounts in the name of Investment Management Firm at Other Broker-Dealer.

Pustelnik acted as the liaison between Investment Management Firm and the traders executing

the strategy.

        115.    Pustelnik was heavily involved in developing and setting up technology at

Investment Management Firm so that the cross-market manipulation could trade there. For

example, in March 2013, Pustelnik worked with the cross-market traders to assist them first in

testing and then actually trading the strategy through Investment Management Firm. Pustelnik

had access to and monitored the accounts at Investment Management Firm that the traders used

to conduct the strategy.

        116.    Within a month after the strategy started trading through Investment Management

Firm's accounts at Other Broker-Dealer, Other Broker-Dealer flagged the conduct as potentially

manipulative.

                4.     Pustelnik Participated in Moving the CrassMarket Manipulation Back
                       to Lek

        117.    Pustelnik was actively involved in moving the cross-market strategy back to LEK

in or about Apri12Q13.




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       118.    Pustelnik strongly urged LEK to improve its options trading technology so that

Avalon could resume its options trading at LEK,including the cross-market strategy. For

example, on April 3, 2013,Pustelnik emailed a LEK officer: "Avalon has stopped completely

trading that options strategy. They did their part —agreed to pay more +good faith. Now they

cant trade — so no comet, no anything on that strategy. issue is only technology." Pustelnik

followed up with suggestions on how to improve the technology at LEK,noting that "yes they

may cost a few hundred bucks — vs l Os ofthousands missed commissions." Aiso, in April 2013,

Pustelnik actively encouraged LEK officers to "prioritize[e] upgrading" LEK's technology

specifically for the cross-market strategy.

       119.    At Pustelnik's suggestion, the cross-market strategy moved back to LEK in or

about late Apri12013, and the traders resumed executing the strategy through Avalon shortly

thereafter. The cross-market manipulation continued trading through Avalon's accounts at LEK

until at least December 2015.

               5.      Pustelnik Profited From the CrossMarket Manipulation

       120.    Pustelnik profited from the cross market manipulation. He received commissions

and other payments from LEK for the transactions that occurred through LEK. Avalon also paid

him a share of profits received.

                                     CLAIMS FOR RELIEF

                                      First Claim for Relief

                         (Against Avalon, Fayyer, and Pustelnik for
               Violations of Section 10(b) of the Exchange Act and Rale lOb-5)

       121.    Paragraphs 1 through 120 are realleged and incorporated by reference.

       122.    By reason ofthe conduct described above, Avalon, Fayyer, and Pustelnik, directly

or indirectly, acting intentionally, knowingly ar recklessly, in connection with the purchase or

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sale of securities, by use ofthe means or instrumentalities of interstate commerce or the facilities

of a national securities exchange or the mail: (a)employed devices, schemes, or artifices to

defraud; and (b)engaged in acts, practices, or courses of business which operated or would

operate as a fraud or deceit upon other persons.

       123.    Avalon, Fayyer, and Pustelnik acted knowingly or recklessly.

       124.    By reason of the foregoing, Defendants Avalon,Fayyer, and Pustelnik violated

Section 10(b) ofthe Exchange Act[15 U.S.C. § 78j(b)] and Rule lOb-5(a) and (c)thereunder [17

C.F.R. § 240.1Ob-5(a) and (c)].

                                     Second Claim for Relief

  (Against Avalon,Fayyer, and Pustelnik for Violations of Section 17(a)(1) and (3)of the
                                    Securities Act)

        125.   Paragraphs 1 through 120 are realleged and incorporated by reference.

        126.   By reason of the conduct described above, Avalon, Fayyer, and Pustelnik, in the

offer or sale of securities, acting with the requisite degree of scienter, by the use of means and

instruments oftransportation and communication in interstate commerce, and by use ofthe

mails, directly or indirectly: (a) knowingly or recklessly, employed devices, schemes, or

artifices to defraud; and (b) with negligence, engaged in transactions, practices, or courses of

business which operated or would have operated as a fraud or deceit upon purchasers.

        127.   Avalon, Fayyer, and Pustelnik acted knowingly, recklessly, or negligently.

        128.   By reason ofthe foregoing, Avalon,Fayyer, and Pustelnik violated Sections

17(a)(1) and (3)ofthe Securities Act[15 U.S.C. §§ 77q(a)(1) and (3)].

                                      Third Ciaim for Relief

    (Against LEK and Sam Lek for Violations of Section 17(a)(3) of the Securities Act)

       129.    Paragraphs 1 through 120 are realleged and incorporated by reference.


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       130.    By reason ofthe conduct described above, LEK and Sam Lek,in the offer or sale

of securities, acting with the requisite degree of scienter, by the use of means and instruments of

transportation and communication in interstate commerce, and by use of the mails, directly or

indirectly, with negligence, engaged in transactions, practices, or courses of business which

operated or would have operated as a fraud or deceit upon purchasers, including but not limited

to LEK and Sam Lek's involvement and participation in a scheme to defraud the U.S. securities

markets through the Layering and cross-market manipulation strategies.

        131.   LEK and Sam Lek acted knowingly, recklessly, or negligently.

        132.   By reason ofthe foregoing, LEK and Sam Lek violated Section 17(a)(3) of the

Securities Act[15 U.S.C. §§ 77q(a)(3)].

                                     Fourth Claim for Relief

     (Against Avalon and Fayyer for Violations of Section 9(a)(2) of the Exchange Act)

        133.   Paragraphs 1 through 120 are realleged and incorporated by reference.

        134.   By reason ofthe conduct described above, Avalon and Fayyer, directly or

indirectly, by the use ofthe mails or means or instrumentalities of interstate commerce, or of a

facility of a national securities exchange, effected, alone or with one ar more other persons, a

series oftransactions in securities creating actual or apparent active trading in such securities, or

raising or depressing the price ofsuch securities, for the purpose ofinducing the purchase or sale

of such securities by others, including but not limited to Avalon's and Fayyer's actions, with

Avalon, of engaging in the layering and cross-market manipulation strategies which affected the

volume and prices of such securities for the purpose of inducing the purpose or sale ofsuch

securities by others.

        135.   Avalon and Fayyer acted with the intent to induce trading by others.


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       136.     By reason ofthe foregoing, Avalon and Fayyer violated Section 9(a)(2) ofthe

Exchange Act[15 U.S.C. § 78i(a)(2)].

                                       Fifth Claim for Relief

    (Against Fayyer and Pustelnik for Aiding and Abetting Avalon's and Each Other's
       Violations of Seetion 10(b)of the Exchange Act and Rule lOb-5 Thereunder)

       137.     Paragraphs I through I20 are realleged and incorporated by reference.

        I38.    By reason ofthe conduct described above, Avalon, Fayyer, and Pustelnik violated

the federal securities laws. Avalon, Fayyer, and Pustelnik, in connection with the purchase or

sale of a security, by the use of means or instrumentalities of interstate commerce, ofthe mails,

or ofthe facilities of a national securities exchange, directly or indirectly, with scienter: (a)

employed devices, schemes, or artifices to defraud; and (b} engaged in acts, practices, or courses

of business which operated or would operate as a fraud or deceit upon other persons, in violation

of Section 10(b) ofthe Exchange Act [15 U.S.C. § 78j(b)j and Rule lOb-5 thereunder [17 C.F.R.

§ 240.1Ob-5].

       139.     By reason ofthe conduct described above, Fayyer and Pustelnik, acting

knowingly or recklessly, provided substantial assistance to, and thereby aided and abetted,

Avalon's and each other's violations of Section 10(b) ofthe Exchange Act[15 U.S.C. § 78j(b)]

and Rule l Ob-5(a) and (c)thereunder[17 C.F.R. § 240.1Ob-5(a) and (c)].

       140.     Accordingly, pursuant to Section 20(e) ofthe Exchange Act[15 U.S.C. § 78t(e)],

Fayyer and Pustelnik are liable for Avalon and each other's violations of Section 10(b)ofthe

Exchange Act[15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder [17 C.F.R. § 240.1Ob-5].




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                                       Sixth Claim for Relief

 (Against LEK and Sam Lek for Aiding and Abetting Avalon's, Fayyer's, and Pustelnik's
       Violations of Section 10(b) of the Exchange Act and Rule IOb-5 Thereunder}

        141.   Paragraphs 1 through 120 are realleged and incorporated by reference.

        142.   By reason ofthe conduct described above, Avalon, Fayyer, and Pusteinik violated

the federal securities laws. Avalon, Fayyer, and Pustelnik, in connection with the purchase or

sale of a security, by the use of means or instrumentalities of interstate commerce, ofthe mails,

or ofthe facilities of a national securities exchange, directly or indirectly, with scienter: (a)

employed devices, schemes, or artifices to defraud; and (b)engaged in acts, practices, or courses

of business which operated or would operate as a fraud or deceit upon other persons, in violation

of Section 10(b)of the Exchange Act [15 U.S.C. § 78j(b)] and Rule l Ob-5(a) and (c} thereunder

[17 C.F.R. § 240.1Ob-5(a) and (c)].

        143.   By reason ofthe conduct described above, LEK and Sam Lek, acting knowingly

or recklessly, provided substantial assistance to, and thereby aided and abetted, Avaion's,

Fayyer's, and Pustelnik's violations of Section 10(b) ofthe Exchange Act[15 U.S.C. § 78j(b)]

and Rule lOb-5 thereunder [17 C.F.R. § 240.1Ob-5].

        144.   Accordingly, pursuant to Section 20(e) ofthe Exchange Act[15 U.S.C. § 78t(e)],

LEK and Sam Lek are liable for Avalon's, Fayyer's, and Pustelnik's violations of Section 10(b)

ofthe Exchange Act[15 U.S.C. § 78j(b)] and Rule l Ob-5(a) and (c)thereunder [17 C.F.R. §

240.1Ob-5(a) and (c)].

                                         Seventh Claim for Relief

    (Against Fayyer and PusteInik for Aiding and Abetting Avalon's and Each Other's
                Violations of Section 17(a)(1} and (3)of the Securities Act)

       145.    Paragraphs 1 through 1ZO are realleged and incorporated by reference.



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       146.    By reason ofthe conduct described above, Avalon,..Fayyer, and Pustelnik, in the

offer or sale of securities and by the use of means or instruments oftransportation or

communication in interstate commerce or by the use ofthe mails, directly or indirectly:(a) with

scienter, employed devices, schemes,or artifices to defraud; and (b) with negligence, engaged in

transactions, practices, or courses of business which operated or would have operated as a fraud

or deceit upon purchasers, in violation of Section 17(a)(1) and (3)ofthe Securities Act[15

U.S.C. § 77q(a)(1) and (3)}.

       147.    By reason ofthe conduct described above, Fayyer and Pustelnik, acting

knowingly or recklessly, provided substantial assistance to, and thereby aided and abetted,

Avaion's and each other's violations of Section 17(a)(1) and (3)ofthe Securities Act[15 U.S.C.

§ 77q(a}(1) and (3)].

       148.    Accordingly, Fayyer and Pustelnik, pursuant to Section 15(b)ofthe Securities

Act[15 U.S.C. § 77o(b)], are liable for those violations.

                                    Eighth Claim for Relief

 (Against LEK and Sam Lek for Aiding and Abetting Avalon's, Fayyer's, and Pustelnik's
                  Violations of 17(a)(1) and (3)of the Securities Act)

       149.    Paragraphs 1 through 120 are realleged and incorporated by reference.

       150.    By reason ofthe conduct described above, Avalon, Fayyer, and Pustelnik, in the

offer or sale of securities and by the use of means or instruments oftransportation or

communication in interstate commerce or by the use ofthe mails, directly or indirectly:(a) with

scienter, employed devices, schemes, or artifices to defraud; and(b) with negligence, engaged in

transactions, practices, or courses of business which operated or would have operated as a fraud

or deceit upon purchasers, in violation of Section I7(a} ofthe Securities Act [I S U.S.C. §

77q(a)]


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       151.    By reason ofthe conduct described above, LEK and Sam Lek, acting knowingly

or recklessly, provided substantial assistance to, and thereby aided and abetted, Avalon's,

Fayyer's, and Pustelnik's violations of Section I7(a)(1) and(3)ofthe Securities Act[15 U.S.C.

§ 77q(a)(1) and (3)].

        152.   Accordingly, pursuant to Section 15(b) ofthe Securities Act[15 U.S.C. § 77o(b)],

LEK and Sam Lek are liable for Avalon's, Fayyer's, and Pustelnik's violations of Section 17(a)

ofthe Securities Act[15 U.S.C. § 77q(a)].

                                      Ninth Claim for Relief

                   (Against Fayyer,Pustelnik,LEK,and Sam Lek for
      Aiding and Abetting Avalon's Violations of Section 9(a)(2) of the Exchange Act)

        153.   Paragraphs 1 through 120 are realleged and incorporated by reference.

        154.   Based upon the conduct described above with regard to the layering scheme and

the cross-market manipulation scheme, Avalon violated the federal securities laws. Avalon,

directly or indirectly, by the use ofthe mails or means or instrumentalities of interstate

commerce, or of a facility of a national securities exchange, effected, alone or with one or more

other persons, a series of transactions in securities creating actual or apparent active trading in

such securities, or raising or depressing the price of such securities, for the purpose ofinducing

the purchase or sale of such securities by others, in violation of Section 9(a)(2) ofthe Exchange

Act[15 U.S.C. § 78i(a)(2)].

        155.   By reason ofthe conduct described above, Fayyer,Pustelnik, LEK,and Sam Lek,

acting knowingly or recklessly, provided substantial assistance to, and thereby aided and abetted,

Avaion's violations of Section 9(a)(2) ofthe Exchange Act[15 U.S.C. § 78i(a)(2)].




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          156.   Accordingly, pursuant to Section 20(e)ofthe Exchange Act[15 U.S.C. § 78t(e)],

Fayyer, Pustelnik, LEK,and Sam Lek are liable for Avalon's violations of Section 9(a)(2) ofthe

Exchange Act[15 U.S.C. § 78i(a)(2}].

                                      Tenth Claim for Relief

  (Against Avalon and Fayyer Under Section 20(a) of the Exchange Act for Violations of
                Exchange Act Sections 9(a)(2) and 10(b) and Rule lOb-5)

          157.   Paragraphs I through 120 are realleged and incorporated by reference.

          158.   By reason ofthe conduct described above, certain traders under Avalon's and

Fayyer's control: (a) directly or indirectly, by the use ofthe mails or means or instrumentalities

of interstate commerce, or of a facility ofa national securities exchange, effected, alone or with

one or more other persons, a series of transactions in securities creating actual or apparent active

trading in such securities, or raising or depressing the price of such securities, for the purpose of

inducing the purchase or sale of such securities by others; and (b)directly or indirectly, singly or

in concert with others, in connection with the purchase or sale of a security, with scienter, used

the means or instrumentalities of interstate commerce, or of the mails, or of a facility of a

national securities exchange to employ devices, schemes, or artifices to defraud and to engage in

acts, practices, or courses of business which operated or would operate as a fraud or deceit upon

others.

          159.   By reason ofthe conduct described above,the Avalon traders were control

persons of Avalon and Fayyer in that Avalon and Fayyer exercised actual power and control over

the Avalon traders and were culpable participants in the Avalon traders' violations of Sections

9(a) and 10(b) and Rule l Ob-5.

          160.   Accordingly, Avalon and Fayyer, pursuant to Section 20(a} ofthe Exchange Act

[15 U.S.C. § 78t(a)], are liable for the Avalon traders' violations of Sections 9(a)(2} and 10(b} of


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the Exchange Act and Rules lOb-5(a) and (c)thereunder [15 U.S.C. §§ 78i(a)(2), 78j(b), 17

C.F.R. §§ 240.1Ob-5(a),(c)].

                                    EIeventh Claim far Relief

  (Against LEK Under Section 20(a) of the Exchange Act for Violations of Exchange Act
                            Section 10(b) and Rule lOb-5)

        161.   Paragraphs 1 through 120 are realleged and incorporated by reference.

        I62.   By reason ofthe conduct described above, Pustelnik, a registered representative

under LEK's control, directly or indirectly, singly or in concert with others, in connection with

the purchase or sale of a security, with scienter, used the means or instrumentalities of interstate

commerce, or ofthe mails, or of a facility of a national securities exchange to employ devices,

schemes, or artifices to defraud and to engage in acts, practices, or courses of business which

operated or would operate as a fraud or deceit upon others.

        163.   By reason ofthe conduct described above, LEK was a control person of Pustelnik

in that LEK exercised actual power and control over Pustelnik and was a culpable participant in

his violations of Section I O(b) ofthe Exchange Act and Rule l Ob-5 thereunder.

        164.   Accordingly, LEK,pursuant to Section 20(a) ofthe Exchange Act[15 U.S.C. §

78t(a)], is liable for Pustelnik's violations of Section 10(b) ofthe Exchange Act and Rules l Ob-

5(a) and (c)thereunder [IS U.S.C. § 78j(b), 17 C.F.R. §§ 240.1Ob-5(a),(c)].

                                     Twelfth Claim for Relief

(Against Pustelnik Under Section 20(a) of the Exchange Act for Violations of Exchange Act
                       Sections 9(a)(2) and 10(b) and Rule lOb-5)

        165.   Paragraphs 1 through 120 are realleged and incorporated by reference.

       166.    By reason ofthe conduct described above, Avalon, which was under Pustelnik's

control: (a} directly or indirectly, by the use ofthe mails or means or instrumentalities of



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interstate commerce, or of a facility of a national securities exchange, effected, alone or with one

or more other persons, a series oftransactions in securities creating actual or apparent active

trading in such securities, or raising or depressing the price of such securities, for the purpose of

inducing the purchase or sale of such securities by others; and (b)directly or indirectly, singly or

in concert with others, in connection with the purchase or sale of a security, with scienter, used

the means or instrumentalities of interstate commerce, or ofthe mails, or of a facility of a

national securities exchange to employ devices, schemes, or artifices to defraud and to engage in

acts, practices, or courses of business which operated or would operate as a fraud or deceit upon

ethers.

          167.   By reason ofthe conduct described above, Pustelnik was a control person of

Avalon, in that he exercised actual power and control over Avalon and was a culpable participant

in its violations of Section 10(b) ofthe Exchange Act and Rule l Ob-5 thereunder.

          168.   Accordingly, Pustelnik, pursuant to Section 20(a) ofthe Exchange Act [I S U.S.C.

§ 78t(a)], is liable for Avalon's violations of Sections 9(a)(2} and 10(b) ofthe Exchange Act and

Rules lOb-5(a) and (c)thereunder [15 U.S.C. §§ 78i(a)(2), 78j(b), I7 C.F.R. §§ 240.1Ob-5(a),

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                                     PRAYER FOR RELIEF

          WHEREFORE,the Commission respectfully requests that this Court enter a judgment:

          A.     Finding that Defendants Avalon, Fayyer, LEK,Sam Lek, and Pustelnik violated

the federal securities laws alleged in this complaint;

          B.     Permanently restraining and enjoining Defendants Avalon, Fayyer, LEK,Sam

 Lek,Pustelnik, and all persons in active concert or participation with them,from violating the

federal securities Laws alleged in this complaint;



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       C.      Ordering Defendants Avalon, Fayyer, LEK,Sam Lek, and Pustelnik to disgorge

all ill-gotten gains as a result oftheir unlawful conduct, plus prejudgment interest;

       D.      Ordering Defendants Avalon, Fayyer, LEK,Sam Lek, and Pustelnik to pay civil

penalties pursuant to Section 20(d)of the Securities Act[15 U.S.C. § 77t(d)] and Section

21(d)(3) ofthe Exchange Act[15 U.S.C. § 78u(d}(3)]; and

       E.      Granting such other and further equitable relief to the Commission as the Court

deems just and appropriate.

                                        JURY DEMAND

       The Cc~irunission demands trial by jury.

Dated: March 10, 2017                                  Respectfully submitted,
       Washington D.C.



                                                       Robert A. Cohen
                                                       David J. Gottesman*
                                                       Olivia S. Choe*
                                                       Sarah S. Nilson*

                                                       U.S. Securities and Exchange Commission
                                                       100 F. Street NE
                                                       Washington, D.C. 20549-4010
                                                       Tel.:(202)551-4470(Gottesman)
                                                       Fax:(202)772-9245 (Gottesman)
                                                       Email: gottesmand(c~sec.gov

OfCounsel.•

Antonia Chion*
Melissa R. Hodgman*
Carolyn M. Welshhans*
Owen A. Granke*

*Not admitted in the Southern District of New York.




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